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                                           RESEARCH


Books and Monographs

    D. M. Hanssens. Long Term Impact of Marketing: A Compendium. World Scientific Publishing,
    2018.

    N. Mizik and D. M. Hanssens, Eds., Handbook of Marketing Analytics: Methods and Applications in
    Marketing Management, Public Policy and Litigation Support. Edward Elgar, 2018.

       Reviewed in Applied Marketing Analytics (Vol. 4, #2, 2018)

    D.M. Hanssens, Ed., Empirical Generalizations about Marketing Impact. Cambridge, MA:
    Marketing Science Institute, Relevant Knowledge Series, 2009. Second Edition, 2015.

       Designated as a “must read” book by Quirk’s Marketing Research, February 2013.

    J. Villanueva and D.M. Hanssens. Customer Equity: Measurement, Management and Research
    Opportunities. Foundations and Trends in Marketing, 2007.

    D.M. Hanssens, L.J. Parsons and R.L. Schultz. Market Response Models: Econometric and Time
    Series Analysis, 2nd Edition, Kluwer Academic Publishers, 2001. Reprinted, 2003.

        Reviewed in Journal of Marketing Research (August 2002), Interfaces (July-August 2003),
        International Journal of Forecasting (April-June 2005).

        Chinese translation, Shanghai People’s Publishing House, 2003.
        Japanese translation, Yuhikaku Publishing Company, 2017

    D.M. Hanssens, L.J. Parsons and R.L. Schultz. Market Response Models: Econometric and Time
    Series Analysis, Kluwer Academic Publishers, 1990.

        Reviewed in Journal of Marketing Research (May 1991), International Journal of Research in
        Marketing (June 1991).


Chapters in Books

   Hanssens, D.M., L. Michelozzi & N. Mizik, “Brand Value, Marketing Spending, and Brand Royalty
   Rates,” in J. Steckel and J. Gersen, Eds., Legal Applications of Marketing Theory. Cambridge
   University Press, forthcoming, 2021.

   Hanssens, D.M. “Artificial Intelligence, Marketing Science and Sustained Profitability,” in
   The Future of Management in an AI World, J. Canals and F.Heukamp, Eds., Palgrave Macmillan,
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Hanssens, D.M. (2020), "Market Response Models for Social Marketing Causes", in Iacobucci,
D. (Ed.) Continuing to Broaden the Marketing Concept (Review of Marketing Research, Vol. 17),
Emerald Publishing Limited, pp. 87-96, 2020.

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Klarmann and A. Vomber, Eds., Springer Verlag, 2019.

Hanssens, D.M. and Dekimpe, M.G., "Models for the Financial Performance Effects of Marketing,”
in Handbook of Marketing Decision Models, 2nd Edition, B. Wierenga and R. van der Lans (Ed.),
Springer, 2017.

Hanssens, D.M., “What is Known about the Long-Term Impact of Advertising ?” in
Accountable Marketing: Linking Marketing Actions to Financial Performance, D. Stewart and C.
Gugel, Eds., Routledge, 2016.

Hanssens, D.M., J.Villanueva & S.Yoo, “Word-of-Mouth and Marketing Effects on Customer
Equity,” in Handbook of Research on Customer Equity in Marketing, V. Kumar and Denish Shah,
Eds., Edward-Elgar Publishing, MA, 2015.

Hanssens, D.M., “History of Marketing Science: Econometric Models,” in The History of Marketing
Science, R. Winer and S. Neslin, Eds., Now Publishers Inc., 2014.

Luo, X., K. Pauwels & D.M. Hanssens, “Time-Series Models of Pricing the Impact of Marketing on
Firm Value,” in Handbook of Marketing and Finance, S. Ganesan, Ed., Edward-Elgar Publishing,
MA, 2012.

Dekimpe, M.G. & D. M. Hanssens, “The Hidden Powers of Advertising Investments,” in Liber
Amicorum in Honor of Peter S.H. Leeflang, J. Wierenga, P. Verhoef and J. Hoekstra, Eds.,
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Hanssens, D. M. and M. G. Dekimpe, “Short-term and Long-term Effects of Marketing Strategy,” in
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MA, 2012.

Lehmann, D.R. and Hanssens, D.M., “Marketing Metrics,” in Wiley International Encyclopedia of
Marketing, R. Peterson and R. Kerin, Eds., 2011.

Hanssens, D.M. and Dekimpe, M.G., "Models for the Financial Performance Effects of Marketing,”
in Handbook of Marketing Decision Models, B. Wierenga (Ed.), Springer Science, 2008.

Dekimpe, M.G., Franses, P.H., Hanssens, D.M. and Naik, P., "Time Series Models in Marketing,” in
Handbook of Marketing Decision Models, B. Wierenga (Ed.), Springer Science, 2008.

Dekimpe, M.G. and Hanssens, D.M., "Advertising Response Modeling,” in Handbook of Advertising,
G. Tellis and T. Ambler (Eds.), Sage Publications, 2007.

Dekimpe, M.G. and Hanssens, D.M., "Persistence Modeling for Assessing Marketing Strategy
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doi:10.1007/s10660-016-9218-7.

M. Fischer, H. Shin and D.M. Hanssens, “Brand Performance Volatility from Marketing Spending,”
Management Science, January 2016.

D.M. Hanssens, K. Pauwels, S. Srinivasan, M. Vanhuele and G.Yildirim, “Consumer Attitude
Metrics for Guiding Marketing Mix Decisions,” Marketing Science, July-August 2014.

   Finalist, Robert D. Buzzell Best Paper Award, Marketing Science Institute

S. Gupta, D. Hanssens, J. Hauser, D. Lehmann & B. Schmitt, “Introduction to Theory and Practice in
Marketing Special Section of Marketing Science,” Marketing Science, January-February 2014.

P. Chintagunta, D. Hanssens, J. Hauser, J. Raju, K. Srinivasan & R. Staelin, “Marketing Science: A
Strategic Review,” Marketing Science, January-February 2013.

D.M. Hanssens, “Response Models, Data Sources, and Dynamics: Commentary on ‘Measuring the
Impact of Negative Demand Shocks on Car Dealer Networks’,” Marketing Science, January-
February 2012.

M.G. Dekimpe & D.M. Hanssens, "Time Series Models in Marketing: Some Recent Developments,”
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(1), 2010.

A.Joshi & D.M. Hanssens, “The Direct and Indirect Effects of Advertising Spending on Firm
Value,” Journal of Marketing, January 2010.

   MSI/Paul Root Best Paper Award, Journal of Marketing, 2011
   Robert D. Buzzell Best Paper Award, Marketing Science Institute, 2006

D.M. Hanssens, R. T. Rust & R. K. Srivastava, “Marketing Strategy and Wall Street: Nailing Down
Marketing’s Impact,” Journal of Marketing, October 2009.

D.M. Hanssens, “Advertising Impact Generalizations in a Marketing Mix Context,” Journal of
Advertising Research, June 2009.

S. Srinivasan & D.M. Hanssens , “Marketing and Firm Value: Metrics, Methods, Findings and
Future Directions,” Journal of Marketing Research, June 2009.

  Lead article
  With commentaries and rejoinder
  Finalist for the 2009-2010 Paul Green Best Paper Award.
  Finalist for the 2014 William O’Dell Long Term Impact Award

  French translation available in “Marketing et valeur de l'entreprise : mesures, méthodes, résultats et
  voies futures de recherché,” Recherche et Applications en Marketing, 24 (4), 2009.




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   Best Paper Award, 2001 European Marketing Academy Meetings

   French translation available in “Les promotions beneficient-elles aux fabricants, aux distributeurs,
   ou aux deux?”, Recherche et Applications en Marketing, 19 (3), 2004.

K. Pauwels, J. Silva-Risso, S. Srinivasan and D.M. Hanssens, “The Long-Term Impact of New-
Product Introductions and Promotions On Financial Performance and Firm Value,” Journal of
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p. 421-439.

    Finalist for the 2002-2003 Paul Green Best Paper Award.
    Winner of the 2007 William O'Dell Award

V. Nijs, M. Dekimpe, J.-B. Steenkamp & D.M. Hanssens, “The Category Effects of Price
Promotions, Marketing Science, Winter 2001.

    Lead article.
    Co-Winner of the 2001 John D.C. Little Best Paper Award.
    Winner of the 2002 Frank M. Bass Outstanding Dissertation Award.
    Finalist, 2011 Long-Term Impact Award, Society for Marketing Science

M.G. Dekimpe and D.M. Hanssens, “Time-Series Models in Marketing: Past, Present and Future,”
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G. Giuffrida, W. Chu and D.M. Hanssens, “Mining Classification Rules from Datasets with Large
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M.G. Dekimpe and D.M. Hanssens, "Sustained Spending and Persistent Response: A New Look at
Long-Term Marketing Profitability," Journal of Marketing Research, November 1999, p. 1-31.

    Lead article.
    Winner of the 1999-2000 Paul Green Best Paper Award.
    Finalist for the 2004 William O'Dell Award.

M.G. Dekimpe, D.M. Hanssens & J.Silva-Risso, "Long-Run Effects of Price Promotions in Scanner
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M.G. Dekimpe, L. van de Gucht, D.M. Hanssens & K. Powers, "Long-Run Abstinence After
Treatment for Narcotcs Abuse: What Are the Odds?", Management Science, November 1998.

D.M. Hanssens, "Order Forecasts, Retail Sales and the Marketing Mix for Consumer Durables,
Journal of Forecasting, June-July 1998.

M.G. Dekimpe and D.M. Hanssens, "Empirical Generalizations about Market Evolution and
Stationarity," Marketing Science, Summer 1995.

M.G. Dekimpe and D.M. Hanssens, "The Persistence of Marketing Effects on Sales," Marketing
Science, Winter 1995.

    Lead article.
    Co-Winner of the 1995 John D.C. Little Best Paper Award.

G.S. Carpenter and D.M. Hanssens, "Market Expansion, Cannibalization and Optimal Airline
Pricing," International Journal of Forecasting, Vol 10, 1994.

A. Roy, D.M. Hanssens and J.S. Raju, "Competitive Pricing by a Price Leader," Management
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    Lead article.

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Series Model: Controlling Narcotics Use and Property Crime," Mathematical and Computer
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D.M. Hanssens and J.K. Johansson, "Synergy or Rivalry? The Japanese Automobile Companies'
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Policy: The Case of Narcotics Use and Property Crime," Management Science, June 1991.

    Lead article.

G.S. Carpenter, L.G. Cooper, D.M. Hanssens and D.F. Midgley, "Modeling Asymmetric
Competition," Marketing Science, Fall 1988.

D.M. Hanssens and P. Vanden Abeele, "A Time-Series Study of the Formation and Predictive
Performance of EEC Production Survey Expectations," Journal of Business & Economic Statistics,
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S.I. Ornstein and D.M. Hanssens, "Resale Price Maintenance: Output Increasing or Restricting? The
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   H. Gatignon and D.M. Hanssens, "Modeling Marketing Interactions with Application to Sales Force
   Effectiveness," Journal of Marketing Research, August 1987.

       Lead article.
       Finalist for the 1992 William O'Dell Award.

   S.I. Ornstein and D.M. Hanssens, "Alcohol Control Laws and the Consumption of Distilled Spirits
   and Beer," Journal of Consumer Research, September 1985.

   W.A.V. Clark, H.E. Freeman and D.M. Hanssens, "Opportunities for Revitalizing Stagnant Markets:
   An Analysis of Consumer Durables," Journal of Product Innovation Management, December 1984.

   D.M. Hanssens and L.M. Liu, "Lag Specification in Rational Distributed Lag Structural Models,"
   Journal of Business & Economic Statistics, October 1983.

   D.M. Hanssens and H.A. Levien, "An Econometric Study of Recruitment Marketing in the U.S.
   Navy," Management Science, October 1983.

   L.M. Liu and D.M. Hanssens, "Identification of Multiple-Input Transfer Function Models,"
   Communications in Statistics (Theory & Methods), 1982(3).

   L.M. Liu and D.M. Hanssens, "A Bayesian Approach to Time-Varying Cross-Sectional Models,"
   Journal of Econometrics, April 1981.

   D.M. Hanssens, "Market Response, Competitive Behavior and Time-Series Analysis," Journal of
   Marketing Research, November 1980.

       Finalist for the 1985 William O'Dell Award.

   D.M. Hanssens, "Bivariate Time-Series Analysis of the Relationship between Advertising and
   Sales," Applied Economics, September 1980.

   D.M. Hanssens and B.A. Weitz, "The Effectiveness of Industrial Print Advertisements across
   Product Categories," Journal of Marketing Research, August 1980.

   E.A. Pessemier, A.C. Bemmaor and D.M. Hanssens, “A Pilot Study of the Willingness to Donate
   Human Body Parts,” Journal of Consumer Research, December 1977.


Working Papers

   R. Becerril-Arreola and D.M. Hanssens, “Measuring and Explaining Product Positionality,” April
   2020. Under review.

   R. Song, S. Jang, Y. Wang, D.M. Hanssens and J. Suh, “Reinforcement Learning and Risk
   Preference in Equity Linked Notes Markets,” September 2019. Under review.




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   H. S. Shin, D. M. Hanssens, K.I. Kim and J. A. Choe, "Positive vs. Negative e-Sentiment and the
   Market Performance of High-Tech Products," August 2013.

       Grant recipient, Marketing Science Institute

    S. Yoo, D.M. Hanssens & H. Kim, ”Marketing and the Evolution of Customer Equity of Frequently
    Purchased Brands,” October 2012.

    H. S. Shin, M. Sakakibara & D. M. Hanssens, "Marketing and R&D Investment of Leader vs.
    Follower," July 2010.


Articles for Executives

    D.M. Hanssens, “Editorial: Marketing Science and Epidemiology,” Applied Marketing Analytics, 6,1,
    2020.

    May, T., T. Chretien, C. Brandt Jones and D.M. Hanssens, “Beyond CSAT – Building Brands with
    Integrated Insights to Drive Results,” Journal of Brand Strategy, 8, 4, Spring 2020.

    D.M. Hanssens, “Creating Strong Brands for the Information Age,” The Journal of World Marketing
    Summit, October 2019.

    M. Fischer, H. Shin and D.M. Hanssens, “Marketing Spending and Brand Performance Volatility,”
    GfK Marketing Intelligence Review, 10, 1, May 2018.

    D.M. Hanssens, “Marketing Impact in the Digital Age,” The Journal of World Marketing Summit,
    November 2017.

    D. M. Hanssens, F. Wang and X-P. Zhang, “Vigilant Marketing: Catching Fleeting Opportunities for
    Growth Spurts,” Applied Marketing Analytics, 3, 2, 2017.

    P. Chintagunta, D.M. Hanssens and J.R. Hauser, “Why does Marketing Need to Strongly Embrace
    Data Science?,” GfK Marketing Intelligence Review, 8, 2, 2016.

    P. Farris, D. M. Hanssens, J. Lenskold and D. Reibstein, “Marketing Return on Investment: Seeking
    Clarity for Concept and Measurement,” Applied Marketing Analytics, Summer 2015.

       Marketing Science Institute Top Download Award, 2015

    C. Binder and D.M. Hanssens, “Why Strong Customer Relationships Trump Powerful Brands,”
    Harvard Business Review Online, April 2015.

    D.M. Hanssens, “The Long-Term Impact of Advertising,” GfK Marketing Intelligence Review, 2015.

    D. Kehrer (interview with D.M. Hanssens), “Why ROI is Often Wrong for Measuring Marketing
    Impact,” Forbes Insights, July 2013.




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   D.M. Hanssens and M.G. Dekimpe, “The Flow Story,” Marketing Management, Summer 2012.

   D. M. Hanssens, “What is Known about the Long-Term Impact of Advertising,” Marketing
   Accountability Standards Board Practitioner Paper, No. 2011-01, February 2011.

   D.M. Hanssens, “Stability, Growth, Decline: Beating Recession Fatigue Requires Right Diagnosis,”
   IESE Insight, 5, Second Quarter 2010 (in Spanish and English).

   D.M. Hanssens, D. Thorpe & C. Finkbeiner, “Marketing When Customer Equity Matters,” Harvard
   Business Review, May 2008.

   D.M. Hanssens and E. Taylor, “The Village Voice: communities of customers and prospects are
   creating new challenges and opportunities,“ Marketing Management, March-April 2007.

   D.M. Hanssens and B. Lewis, “Divvying up the Marketing Pie,” BAI Banking Strategies,
   September/October 2005.

   S. Srinivasan, K. Pauwels, D.M. Hanssens & M. Dekimpe, “Who Benefits from Price Promotions?”,
   Harvard Business Review, September 2002.

   D. M. Hanssens, “Information Driven Marketing Strategy,” International Journal of Medical
   Marketing, Summer 2002.

   D.M. Hanssens, "Comment on Hysteresis in Marketing," Sloan Management Review, Summer 1997

   R. Birt and D.M. Hanssens, "Customer-Focused Database Marketing," Case-in-Point Report, 1996.

   D.M. Hanssens, "Customer Information: The New Strategic Asset," Chief Executive, 1996.

   D.M. Hanssens, "Managementopleiding voor de 21ste Eeuw," Economisch & Sociaal Tijdschrift,
   June 1994 (in Dutch).

   D.M. Hanssens and P. Loewe, "Taking the Mystery out of Marketing," Management Review, August
   1994.

Book Reviews

   "A Comparative Review of Econometrics Books," in Journal of Marketing Research, February 1992.

   "Time Series and Forecasting with IDA," by H. Roberts, in Journal of the American Statistical
   Association, June 1985.

   "Innovation Diffusion: Models and Applications," by V. Mahajan and R. Peterson, in Journal of
   Marketing Research, November 1985.




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                                            TEACHING

Courses Taught at UCLA

       Elements of Marketing (MBA)
       Mathematical Models in Marketing (MBA/PhD)
       International Marketing (MBA)
       Quantitative Research in Marketing (PhD)
       Time Series Analysis (PhD/MBA)
       Special Research Topics in Marketing (PhD)
       Management Field Studies Advisorship (MBA)
       Directed Readings in Applied Econometrics and International Marketing (PhD/MBA)
       Workshop in Marketing (PhD)
       Data Analysis and Decisions under Uncertainty (Executive MBA)
       Research in Marketing Management (Ph.D.)
       Marketing Strategy and Policy (Executive MBA)
       Marketing Strategy and Planning (MBA)
       Action Research Project (Executive MBA)
       Customer Information Strategy (Executive MBA)
       Managerial Problem Solving (MBA)
       Marketing Management II (MBA)
       Marketing Strategy and Planning: Focus on Central & Eastern Europe (MBA)

Doctoral Committees

   As chair or co-chair:

       Bonita J. Campbell, PhD Management, 1979. Professor of Engineering, California State
            University, Northridge
       Yoshi Sugita, PhD Management, 1985. Professor of Economics, Gakushuin Univ. Tokyo
       Abhik Roy, PhD Management, 1989. Professor of Marketing, Quinnipiac University
       Keiko Powers, PhD Psychology, 1990. Senior Marketing Scientist, MarketShare.
       Maria Cison, PhD Economics, 1990. Economist, General Motors Corporation, Detroit
       Marnik Dekimpe, PhD Management, 1992. Research Professor, Tilburg University
       Koen Pauwels, PhD Management, 2001. Professor, Northeastern University
       Julian Villanueva, PhD Management, 2003. Professor, IESE, Madrid
       Shijin Yoo, PhD Management, 2004. Professor, Korea University
       Amit Joshi, PhD Management, 2005. Professor, IMD, Lausanne
       Hyun Shin, PhD Management, 2008. Associate Professor, Hanyang Univ., Korea
       Rafael Becerril, PhD Management, 2013. Assistant Professor, Univ. of South Carolina
       Ho Kim, PhD Management, 2013. Assistant Professor, Univ. of Missouri, St. Louis

   As member:

       Luiz Caleffe, PhD Education, 1980
       Hubert Gatignon, PhD Management, 1981
       Douglas Nigh, PhD Management, 1981
       Marjorie Chan, PhD Management, 1981
       Daniel Wunsch, PhD Education, 1981




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        Mary Kreik, Dr. Public Health, 1982
        Ngina Lythcott, Dr. Public Health, 1982
        Harish Sujan, PhD Management, 1983
        Sharon Garrett, PhD Public Health, 1983
        Jan Ouren, PhD Public Health, 1983
        Robert Curtis, PhD Management, 1985
        Melvyn Menezes, PhD Management, 1985
        Benoit Boyer, PhD Management, 1987
        Kannan Srinivasan, PhD Management, 1986
        Harold Stanislaw, PhD Psychology, 1987
        Leon Crabbe, PhD Economics, 1988
        Joao Assuncao, PhD Management, 1990
        Parvish Nourjah, PhD Epidemiology, 1991
        Ronald Rivas, PhD Management, 1997
        Ronald Dietel, EdD Education, 1997
        Reza Sadri, PhD Computer Science, 2001
        Catarina Sismeiro, PhD Management, 2002
        Yan-Nei Law, PhD Computer Science, 2005
        Wayne Taylor, PhD Management, 2017

    As external member:

        Katrijn Gielens, Doctor in Applied Economics, Catholic University of Leuven, 1999
        Vincent Nijs, Doctor in Applied Economics, Catholic University of Leuven, 2001
        Marcel Kornelis, Doctor in Economics, University of Groningen, 2002
        Isaac Dinner, PhD, Columbia University, 2011
        Ofer Mintz, PhD, University of California, Irvine, 2011
        Chloe Moon, PhD, University of California, Riverside, in progress




Executive Seminars (since 2000)

        Wells Fargo Bank, 1995-2005
        PriceWaterhouseCoopers, 2000
        Columbia University Executive Program, 2001
        Marketing Strategy in the Information Age, 2000-02
             Faculty Director, 2000-02
        UCLA Strategic Leadership Institute, 2000-2003
        Ambrosetti, Italy, 2002, 2004, 2005, 2006
        Credit Suisse, 2002-03
        University of California San Diego, Executive Program, 2003
        Auchan, France, 2004
        Gen-Probe, San Diego, 2004
        Numico, Singapore, 2006
        Greater Paris Investment Agency, 2007
        SAS Forum, Madrid, 2007
        Marketing Roundtable, Georgia State University, 2008




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 Amgen, 2008
 Baptie CMO Community, 2008
 Korea Productivity Center, 2009
 Coca-Cola Latin America, 2010
 Adobe, 2012
 Teradata, 2013, 2015
 American Bar Association, 2013
 Hollywood IT Society, 2015, 2016
 World Marketing Summit, Tokyo, 2016
 Forbes CMO Summit, 2018
 World Marketing Summit, Istanbul (2018), Tokyo (2019), Manila (2020),
     Lahore (2020), New Delhi (2020), Kuala Lumpur (2020)
 MMA Global (2020)
 Electronic World Marketing Summit (2020)




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Faculty Director, Entertainment & Media Management Institute, 2004-05.
Compensation Task Force, 2011
Co-chair, UCLA Anderson Task Force on Branding, 2011-2012

University of California

Review Committee, UC Irvine Graduate School of Management, 1988
Chairman, UCLA Task Force on Economic Reconstruction and Development, 1992
Task Force on UCLA Faculty Workload, 1993--94
Task Force on Part-Time Masters Programs, 1993--94
Clinical Scholars Program Committee, UCLA School of Medicine, 1997-2002
Dean Search Committee, UCLA School of Education, 1999
Chairman, Dean Review Committee, UCLA School of Letters and Sciences, 2001-02
Dean Review Committee, UCLA Extension, 2011
Faculty Welfare Committee, UCLA Academic Senate, 2011-2014
Dean Search Committee, UCLA Extension, 2013
Vice Chancellor Search Committee, UCLA, 2015
    External Review Committee, Samueli School of Engineering, UC Irvine, 2016

Other

Faculty Advisory Board, Gemini Consulting, San Francisco, 1988-1997
Marketing Advisory Board, KeraVision, San Jose, 1995-1999
Board of Directors, i-Mind Education Systems, 1998-2001
Academic Trustee, Marketing Science Institute, Boston, 2002-2005
Executive Committee, Marketing Science Institute, Boston, 2005-2011.
External Review Committee, Wharton School Marketing Department, 2003
Member, UCLA Committee on Research, 2003-2005.
Founding Director, Marketing Accountability Standards Board (MASB), 2006-2017
External Review Committee, New York University Marketing Department, 2008
Selection Committee, AMA Irwin Distinguished Marketing Educator Award, 2006-2009
     Chairman, 2008-2009
Board of Directors, MarketShare, Los Angeles, 2006-2015
International Advisory Board, HEC School of Management, Paris, 2009-2015
External Review Committee, Erasmus Research Institute of Management, Rotterdam, 2010
Academic Advisory Board, Unilever Marketing Science Unit, London, 2012-2015
Supervisory Board, Erasmus University Research Institute of Management, 2012-
Senior Advisor, Cornerstone Research, 2014-
Advisory Board, MarketShare, Los Angeles, 2016-17
President, INFORMS Society for Marketing Science, 2016-17
Selection Committee, Buck Weaver Award for Lifetime Contribution to Marketing
    Theory & Practice, ISMS, 2018-present
Advisory Board, LiftLab, San Francisco, 2019-
Chair, Research Evaluation Committee, Tilburg Institute for Economics and Management, 2020




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                                   PROFESSIONAL SERVICE

Grants

    UCLA Alcohol Research Center, $39,000, for a study of regulation effect on alcohol consumption,
    1979-80 (with S.I. Ornstein)
    Director, Robert Anderson Research Endowment in Management, $250,000, 1988-93, 1997-99
    Columbia Charitable Foundation, $230,000, Information Technology Planning Grant, 1991-1992
    Director, William Leonhard Research Endowment in Management, $200,000, 1993-97
    Various Marketing Science Institute research grants, 1996-present

Editorial Boards

    Journal of Marketing Research, 1984-88 and 2003-05
    Journal of Marketing Research, Associate Editor, 2007-10
    Journal of Marketing Research, Editor’s Advisory Board, 2010-16
    Journal of Marketing, Associate Editor, 2014-16
    Journal of Marketing, Special Issue Co-Editor, 2007-09
    Marketing Science, 1983-94
    Marketing Science, Area Editor, 1988-91
    Marketing Science, Editor’s Advisory Board, 2010-15
    Marketing Science, Special Issue Co-Editor, 2013-16
    Management Science, Associate Editor, 1978-88
    Recherche et Applications en Marketing, 1987-
    International Journal of Research in Marketing, 1993-2003
    International Journal of Research in Marketing, Associate Editor, 2009-2016
    Applied Marketing Analytics, Editorial Board, 2014-

Ad Hoc Reviewing

    Marketing Science, 1981-82
    Journal of Forecasting, 1981--
    Management Science, 1981--
    Journal of Marketing Research, 1981-83
    Journal of Consumer Research, 1982--
    Interfaces, 1992--
    Decision Sciences, 1982--
    International Journal of Research in Marketing, 1983-92
    Computers & Industrial Engineering, 1983--
    Journal of Business & Economic Statistics, 1984--
    Journal of Product Innovation Management, 1984--
    Psychometrika, 1985--
    National Science Foundation, 1984--
    Communications in Statistics, 1987--
    Journal of Time Series Analysis, 1988--
    Journal of Marketing, 1987--
    International Journal of Forecasting, 1992--
    Journal of Econometrics, 1996-
    Marketing Letters, 1996-




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    Research Council of the United Kingdom, 1997
    Research Foundation – Flanders, 2016


Invited Research Seminars

    2020 University of Texas, Austin
    2019 Columbia University*
         Harvard Law School*
    2018 IESE, Barcelona*
         BI Norwegian School of Management*
    2017 University of Groningen*
         University of California, Riverside
    2016 University of Tennessee
         University of Pennsylvania, Wharton School
         Indiana University, University of Notre Dame*,
         Chinese University of Hong Kong*
         University of Oxford
    2015 University of Kansas, University of South Carolina,
         London Business School, New York University*,
         Bogazici University, Istanbul*, Tilburg University*
    2014 University of Maryland, Northwestern University,
         Universität zu Köln, Tohoku University
    2013 University of Michigan
    2012 University of Texas, Austin, University of Central Florida,
         University of Florida, Fudan University Shanghai,
         University of Washington
    2011 Boston University*, University of Utah
    2010 University of California, Davis, University of North Carolina,
         Texas Christian University, Erasmus University, Rotterdam*
         BI Norwegian School of Management*
    2009 Korea University*, Georgia State University*, University of Arizona
    2008 UCLA Anderson Faculty Lecture Series, University of Minnesota,
         Tilburg University*, University of Missouri, Georgia State University
    2007 Boston University, Columbia University, Arizona State University
    2006 University of Groningen*, Harvard Business School,
         Emory University, Texas A&M University,
         University of Maryland, Massachusetts Institute of Technology,
         Dartmouth College
    2005 Washington University, St. Louis, Ohio State University,
         Singapore Management University, University of Connecticut
         Yale University, MIT Data Center
    2004 UCLA Marschak Interdisciplinary Colloquium, University of California, San Diego,
         UCLA Finance Seminar Series, Koc University, Istanbul
    2003 Tulane University, Dartmouth College, McGill University,
         Tilburg University, Duke University
    2002 University of Texas, Austin, Erasmus University, University of Groningen
    2001 University of Texas at Dallas, Simon Fraser University,
         Tilburg University




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    2000 AMA Advanced Research Forum, Monterey, University of Western Ontario
    1999 University of California, Riverside, University of Southern California,
         Georgetown University, UCLA Anderson Faculty Lecture Series
    1998 Humboldt University, Berlin, Northwestern University
    1997 University of Cambridge, University of Washington Marketing Camp
    1996 University of California, Berkeley, University of Budapest,
         Marketing Science Institute (1996-present)
    1995 University of Texas, Austin, University of California, Irvine,
         Universitat Mainz
    1994 Catholic University of Leuven, University of Iowa,
         Hong Kong University of Science & Technology
    1991 INSEAD, Catholic University of Leuven Law School
    1990 Catholic University of Leuven, Washington University, St. Louis,
         University of Florida, AMA Doctoral Consortium
    1989 Georgetown University, Columbia University Marketing Camp
    1987 Columbia University
    1986 University of Houston
    1985 Carnegie-Mellon University
    1984 Washington State University, HEC Paris, Universidad de Zaragoza,
         Universiteit Antwerpen, Universite de Mons, Universiteit Gent,
         Universitat Bielefeld
    1983 UCLA Economics Department
    1982 University of Texas at Dallas, University of Washington
    1981 Stanford University, Harvard University

    * denote plenary lectures at conferences hosted by or at the university

Consulting

    airlines: Air France
    automotive: Ford, Mercedes, Lexus
    consumer products: General Mills, Mars, Mattel Toys, Nestle, Coca-Cola
    entertainment: Sony, Electronic Arts, Xbox, Disney, NBC, Vivendi
    financial services: Home Savings, Wells Fargo, Wachovia, Schwab, CitiCorp, Fidelity
    health care: Amgen, Johnson & Johnson, Safeguard Health, GlaxoSmithKline, KeraVision
    information services: Catalina Marketing, TRW, TNS, MSN, Google
    insurance: Progressive, Zurich
    law firms: expert witness list available upon request
    marketing analytics: LiftLab, LivePerson
    public sector: US Navy Recruiting Command
    retailing: Ralphs, Wickes, Gelson’s, Build-a-Bear, Albertsons
    technology: Hewlett Packard, Hughes, Xerox, Dell, Microsoft, CDW, Motorola, Intel
    telecommunications: British Columbia Telecom, British Telecom, General Telephone




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Honors and Awards

   2016 Wroe Alderson Award, Wharton School, University of Pennsylvania
   2015 Buck Weaver Award for Lifetime Contribution to Marketing Theory & Practice, ISMS
   2013 V. Mahajan Award for Career Contributions to Marketing Strategy Research, AMA
   2010 Fellow, INFORMS Society for Marketing Science
   2010 MSI/H. Paul Root Best Paper Award, Journal of Marketing
   2007 Gilbert A. Churchill Lifetime Achievement Award, AMA
   2007 William O’Dell Best Paper Award, Journal of Marketing Research
   2006 Robert D. Buzzell Best Paper Award, Marketing Science Institute
   2003 Neidorf “Decade” Teaching Award, UCLA Anderson School of Management
   2003 Teaching Excellence Award, UCLA Executive MBA Program
   2002 Frank M. Bass Outstanding Dissertation Award, Marketing Science
   2001 John D.C. Little Best Paper Award, Marketing Science
   2001 European Marketing Academy Best Paper Award
   1999 Paul E. Green Best Paper Award, Journal of Marketing Research
   1997 Teaching Excellence Award, UCLA Executive MBA Program
   1995 John D.C. Little Best Paper Award, Marketing Science
   1996 EMAC Doctoral Consortium Faculty Member
   1990 AMA Doctoral Consortium Faculty member, 1990-present
   1988 Teaching Excellence Award, UCLA Executive MBA Program
   1983 Outstanding Reviewer Award, Marketing Science
   1981 George Robbins Distinguished Teaching Award, UCLA School of Management
   1981 Career Development Award, UCLA
   1977 Member Beta Gamma Sigma (National Business Honor Society), 1977-present
   1977 Purdue University representative, Albert Haring Annual Symposium
   1976 Fellow, C.I.M., Brussels, Belgium (doctoral dissertation fellowship)
   1975 Outstanding Teacher's Award, Purdue University


Media

   Various interviews on management topics for Wall Street Journal, New York Times, Los Angeles
   Times, Fortune, Los Angeles Business Journal, ABC World News, NPR and other media.




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